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                                  UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA


   BRANDON THOMPSON,

                              Plaintiff,
   v.                                                            Case No. 0:22-cv-60959-AHS

   PENN CREDIT CORPORATION, INC.,

                       Defendant.
                                                         /

                                      JOINT CONFERENCE REPORT

         (A)      the likelihood of settlement; The parties will work together in good faith to

  determine if there can be a resolution.

         (B)      the likelihood of appearance in the action of additional parties; None.

         (C)      proposed limits on the time:

         (i)      to join other parties and to amend the pleadings: August 12, 2022.

         (ii)     to file and hear motions: February 10, 2023.

         (iii)    to complete discovery: January 13, 2023.

         (D)      proposals for the formulation and simplification of issues, including the elimination

  of frivolous claims or defenses, and the number and timing of motions for summary judgment or

  partial summary judgment;

                  i.        Simplification of Issues: The parties will meet and confer to

                            discuss the viability of the claims within 14 days of the entry of

                            this scheduling report.

                 ii.        Deadline for Motions for Summary Judgment: February 10, 2023.

         (E)      the necessity or desirability of amendments to the pleadings; The parties propose

  August 12, 2022, as a deadline to amend the pleadings, if necessary.
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            (F)     the possibility of obtaining admissions of fact and of documents, electronically

  stored information or things which will avoid unnecessary proof, stipulations regarding

  authenticity of documents, electronically stored information or things, and the need for advance

  rulings from the Court on admissibility of evidence; The parties agree to exchange information

  via discovery without the need from the Court on admissibility of evidence.

            (G)     suggestions for the avoidance of unnecessary proof and of cumulative evidence; The

  parties have agreed to work cooperatively together and do not anticipate any evidentiary

  issues.

            (H)     suggestions on the advisability of referring matters to a Magistrate Judge or master;

  The parties do not unanimously consent to a Magistrate Judge.

            (I)     a preliminary estimate of the time required for trial; 2 days

            (J)     requested date or dates for conferences before trial, a final pretrial conference, and

  trial;

                    Conference before trial: April 19, 2023

                    Final pretrial conference: May 18, 2023

                    Trial: July 20, 2023

            (K) any issues about: None.

            (i) disclosure, discovery, or preservation of electronically stored information, including the

  form or forms in which it should be produced; The parties agree to produce ESI in original

  format and/or .PDF format if original format is not relevant.

            (ii) claims of privilege or of protection as trial-preparation materials, including - - if the

  parties agree on a procedure to assert those claims after production -- whether to ask the court to

  include their agreement in an order under Federal Rule of Evidence 502: The parties will file a

  motion for protective order prior to producing privileged materials.
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         (iii) when the parties have agreed to use the ESI Checklist available on the Court’s website

  (www.flsd.uscourts.gov), matters enumerated on the ESI Checklist; and The parties will agree to

  use the ESI Checklist.

         (L) any other information that might be helpful to the Court in setting the case for status or

  pretrial conference. None at this time.


  Date: July 15, 2022                                   Respectfully submitted,

  /s/ Alexander J. Taylor                                /s/ Adam H. Settle
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                                  CERTIFICATE OF SERVICE

         I hereby certify that I today caused a copy of the foregoing document to be electronically filed

with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of record.

                                                       /s/ Alexander J. Taylor
